       Case 1:23-cv-09878-JAV          Document 157         Filed 06/22/25      Page 1 of 1




                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

DREW DIXON,

               Plaintiff,                                     Case No.:      1:23-cv-09878-JAV

v.

ANTONIO MARQUIS “L.A.” REID,

            Defendant.
_____________________________________ /

                             DECLARATION OF KENYA DAVIS

       I, Kenya Davis, declare, pursuant to 28 U.S.C. § 1746, that the following is true and correct:

       1.      I am an attorney at the law firm of Boies Schiller Flexner LLP, counsel for Plaintiff

Drew Dixon in the above-captioned matter. I am an attorney in good standing in the State of New

York. I am fully familiar with the facts set forth herein. I submit this declaration in opposition to

Defense Counsel’s Motion to Withdraw (ECF No. 132).

       2.      Attached as Exhibit A is a true and correct copy of the Forbes article How Former

Apple Music Mastermind Larry Jackson Signed Mariah Carey to His $400 Million Startup by

Jabari Young, dated June 6, 2025.

       3.      Attached under seal as Exhibit B is a true and correct copy of the deposition

transcript of Mr. Larry Jackson dated May 21, 2025.

Date: June 22, 2025                                   Respectfully Submitted,
                                                      /s/ Kenya K. Davis

                                                      Kenya K. Davis (NY Bar #4162483)
                                                      Boies Schiller Flexner LLP
                                                      1401 New York Ave., NW
                                                      Washington, DC 20005
                                                      (202) 237-9608
                                                      kdavis@bsfllp.com


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